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In the Gnited States Court of Federal Clans

 

 

No. 17-762C
Filed November 6, 2017
NOT FOR PUBLICATION F | LED
NOV - 6 2017
DEREK N, JARVIS, ) U.S. COURT OF
) FEDERAL CLAIMS
Plaintiff, )
) RCFC 59(a); Motion for Reconsideration.
v. )
)
THE UNITED STATES, )
)
Defendant. )
)

 

Derek N. Jarvis, Silver Spring, MD, plaintiff pro se.

Delisa M. Sanchez, Trial Attorney, Tara K. Hogan, Assistant Director, Robert E.
Kirschman, Jr., Director, and Chad A. Reader, Acting Assistant Attorney General, Commercial
Litigation Branch, Civil Division, United States Department of Justice, Washington, DC, for
defendant.

MEMORANDUM OPINION AND ORDER DENYING
PLAINTIFE’S MOTION FOR RECONSIDERATION

GRIGGSBY, Judge

I. INTRODUCTION

On October 23, 2017, plaintiff pro se, filed a motion for reconsideration of the Court’s
October 18, 2017, Memorandum Opinion and Order granting the government’s motion to
dismiss this matter for lack of subject-matter jurisdiction (the “October 18, 2017, Decision”),
pursuant to Rule 59(a) of the Rules of the United States Court of Federal Claims (“RCFC”).

For the reasons set forth below, the Court DENIES plaintiffs motion for reconsideration.

Il. LEGAL STANDARD

In general, RCFC 59 addresses the grounds for reconsideration and for a new trial.

Specifically, RCFC 59(a) provides, in pertinent part, that:
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The court may, on motion, grant a new trial or a motion for reconsideration on all
or some of the issues—and to any party—as follows ... upon the showing of
satisfactory evidence, cumulative or otherwise, that any fraud, wrong, or injustice
has been done to the United States.

RCFC 59(a)}(1). To prevail upon a motion for reconsideration “the movant must identify a
manifest error of law, or mistake of fact.” Shapiro vy. Sec’y of Health & Human Servs., 105 Fed.
Cl. 353, 361 (2012), aff'd, 503 F. App’x 952 (Fed. Cir. 2013) (internal citations omitted).
Specifically, the moving party must show: “(a) an intervening change in the controlling law has
occurred since the original decision; (b) evidence not previously available has become available;
or (c) the motion is necessary to prevent manifest injustice.” Johnson v. United States, 126 Fed.

Cl. 558, 560 (2016) (citing Bishop v. United States, 26 Cl.Ct. 281, 286 (1992)).

Motions for reconsideration are “not intended to give an unhappy litigant an additional
chance to sway the court.” /d. (internal citations omitted). In addition, “[t]he decision whether
to grant reconsideration lies largely within the discretion of the [trial] court.” Yuba Natural Res.,
Inc. v. United States, 904 F.2d 1577, 1583 (Fed. Ctr. 1990) (citations omitted}, And so, granting
such relief requires “a showing of extraordinary circumstances.” Caldwell v. United States, 391

F.3d 1226, 1235 (Fed. Cir. 2004) cert. denied, 546 U.S. 826 (2005) (citation omitted).

TW. LEGAL ANALYSIS

Plaintiff has not established that he is entitled to reconsideration of the Court’s October
18, 2017, Memorandum Opinion and Order dismissing his case for lack of subject-matter
jurisdiction under RCFC 59{a). And so, for the reasons discussed below, the Court denies

plaintiff’s motion for reconsideration.

To obtain relief under RCFC 59(a) in this matter, plaintiff must show that a fraud, a
wrong, or injustice has been done to the United States as a result of the Court’s decision to
dismiss his complaint for lack of subject-matter jurisdiction. RCFC 59(a), Plaintiff makes no
such showing here. See generally Pl. Mot. Rather, in his motion for reconsideration, plaintiff
raises objections that restate the jurisdiction arguments that plaintiff previously made in his

response and opposition to the governments motion to dismiss. See generally Pl. Mot.’ These

 

' Specifically, plaintiff challenges the government’s assertion that: (1) this Court is “a court of Limited
Jurisdiction;” (2) the Court “does not possess jurisdiction to consider Plaintiff(s) claims;” (3) the Court

 

 
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jurisdictional arguments have been addressed and resolved by the Court in the October 18, 2017,

Decision. See generally October 18, 2017, Decision.

In addition, plaintiff does not demonstrate that any fraud, wrong, or injustice has been
done to the United States as a result of the Court’s decision to dismiss his claims. See generally
Pl. Mot.; RCFC 59(a)(1)(C). Nor does plaintiff not cite to any intervening change in the law, or
to any evidence that was previously unavailable at the time that the Court issued the October 18,

2017, Decision. See generally Pl. Mot.

Plaintiff similarly has not demonstrated any extraordinary circumstances that would
result in manifest injustice if his motion for reconsideration is not granted. See generally Pl.
Mot.; see also Caldwell, 391 F.3d at 1235 (to be granted relief pursuant to RCFC 59(a) requires
“a showing of extraordinary circumstances”). In sum, plaintiff presents no new arguments or
facts in his motion for reconsideration. See generally P|. Mot. A motion for reconsideration
“may not be used simply as an opportunity for a party to take a second bite at the apple by
rearguing positions that have been rejected.” Brock v. United States, No. 11-176 C, 2016 WL
3619328, at *4 (Fed. Cl. June 23, 2016) (internal citations omitted). And so, the Court must

deny plaintiff's motion.

Ws CONCLUSION

In light of the foregoing, plaintiff has not met his burden to show that he is entitled to
reconsideration of the Court’s October 18, 2017, Decision dismissing this matter for lack of
subject-matter jurisdiction. And so, the Court DENIES plaintiff's motion for reconsideration

RCFC 59(a).

IT IS SO ORDERED.

   

 

Judge

 

“Does Not Possess Jurisdiction to Consider Plaintiff(s) claims against Parties other than the United
States;” and (4) “The Court does not Possess Jurisdiction to Consider Plaintiff(s) Constitutional Claims.”
Pl. Mot. at 1-5.
